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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

 BARBARA J. SCHULTZ,

       Plaintiff,
                                                     CASE NO.:
 -VS-                                                DIVISION:

 BRIGHT HOUSE NETWORKS, LLC,                         JURY TRIAL DEMANDED
 and CREDIT PROTECTION
 ASSOCIATION, L.P.

       Defendant.
                                         /

                                             COMPLAINT

1.                  Plaintiff, BARBARA J. SCHULTZ, alleges violation of the Telephone Consumer

Protection Act, 47 U.S.C. §227 et seq. (“TCPA”), the Florida Consumer Collection Practices Act,

Fla. Stat. §559.55 et seq. (“FCCPA”), and the Fair Debt Collection Practices Act, 15 U.S. Code §

1692 et seq (“FDCPA”).

                                         INTRODUCTION

2.       The TCPA was enacted to prevent companies from invading American citizen’s privacy

and prevent abusive “robo-calls.”

3.       “The TCPA is designed to protect individual consumers from receiving intrusive and

unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,

L.Ed. 2d 881 (2012).

4.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256 scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone


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subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

5.       According to the Federal Communications Commission (FCC), “Unwanted calls and

texts are the number one complaint to the FCC. There are thousands of complaints to the FCC

every month on both telemarketing and robo-calls. The FCC received more than 215,000 TCPA

complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-proposal

                                  JURISDICTION AND VENUE

6.       Jurisdiction and venue for purposes of this action are appropriate and conferred by 28

U.S.C. §1331.

7.       The alleged violations described in the Complaint occurred in Hillsborough County,

Florida.

                                    FACTUAL ALLEGATIONS

8.       Plaintiff is a natural person and citizen of the State of Florida residing in Hillsborough

County, Florida.

9.       Plaintiff is a “consumer” as defined in Florida Statute 559.55(8).

10.      Plaintiff is an “alleged debtor.”

11.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d 1265 (11th

Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

 12.       Defendant, Bright House Networks, LLC, (hereinafter “Bright House”), is a foreign

limited liability company with its principal place of business at C/O Advance/Newhouse

Partnership, 5823 Widewaters Parkway, East Syracuse, NY 13057 and conducting business in the

state of Florida through its registered agent, Corporation Service Company, 1201 Hays St.,

Tallahassee, FL 32301.


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13.        Defendant, Credit Protection Association, LP, (hereinafter “CPA”), is a foreign limited

liability company with its principal place of business at 13355 Noel Rd, Suite 2100, Dallas, TX

75240 and conducting business in the state of Florida through its registered agent, C.T.

Corporation, 1200 S. Pine Island Road, Plantation, FL 33324.

14.    Defendant, Bright House, consented to and has knowledge and control of the activities of

its agents and representatives, supervisors, managers, affiliates, subsidiaries, divisions, employees,

servants, partners, agents, vendors, assignees, transferees, collectors and/or contractors including

but not limited to CAP, in their actions related to the servicing and collection of the alleged

account.

15.    Upon information and belief, Bright House had knowledge of all actions taken by its agents

and subsidiaries, CAP, and specifically instructed and/or conspired with them to take such actions

as were ultimately taken in regards to Plaintiff.

16.    Neither Bright House nor CAP disclosed to Plaintiff the principal/agent or parent

company/subsidiary relationship by and between them, but it was nonetheless eventually clear that

the agents at all times material, acted as the agent on behalf of Bright House with respect to the

activities described herein.

17.    The debt that is the subject matter of this complaint is a “consumer debt” as defined by

Florida Statute §559.55(6).

18.    Defendant called the Plaintiff approximately six hundred (300) times since November 1,

2014 in an attempt to collect a debt.

19.    Defendant attempted to collect a debt from the Plaintiff by this campaign of telephone calls.




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20.    Bright House and CAP intentionally harassed and abused Plaintiff on numerous occasions

by calling several times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

21.    On information and belief, the telephone calls placed by Bright House and CAP were

placed using automated telephone dialing equipment, without human intervention.

22.    Each call Bright House and CAP made to the Plaintiff was made using an “automatic

telephone dialing system” which has the capacity to store or produce telephone numbers to be

called, using a random or sequential number generator; and to dial such numbers as specified by

47 U.S.C §227(a)(1).

23.    Each call Bright House and CAP made to the Plaintiff’s cell phone was done so without

the “express permission” of the Plaintiff.

24.    Beginning on or around November 1, 2014, Plaintiff began receiving automated robocalls

from Bright House and CPA to her cell phone number, (***) *** - 1781

25.    After November 1, 2014 the Plaintiff received calls from 844-335-5702, 844-543-6090 and

844-543-6093. When these numbers are called, a pre-recorded voice answers and identifies the

number as Credit Protection Association’s automated service center. These numbers called the

Plaintiff repeatedly after she revoked her consent, including but not limited to the following dates

and approximate times:

      a.      February 11, 2015 (6:37 PM)

      b.      February 13, 2015 (4:39 PM)

      c.      February 15, 2015 (6:35 PM).

      d.      February 16, 2014 (4:37 PM)

      e.      February 16, 2015 (4:38 PM)



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       f.      February 17, 2015 (1:45 PM)

       g.      March 5, 2015 (6:21 PM)

       h.      March 10, 2015 (4:35 PM)

       i.      March 31, 2015 (2:06 PM);

26.     On multiple occasions after November 14, 2014 the Plaintiff advised the Defendant that

she no longer consented to being called by Defendant; however the calls to her cell phone

continued without her prior express consent.

27.     The Defendant called the Plaintiff’s family members without the Plaintiff’s consent on

hundreds of occasions beginning on or about February 1, 2015.

28.     Bright House and its subsidiaries, including CPA, have a corporate policy to use an

automatic telephone dialing system or a pre-recorded or artificial voice to individuals just as they

did to the Plaintiff’s cellular telephone in this case.

29.     Bright House and its subsidiaries, including CPA, have a corporate policy to use an

automatic telephone dialing system or a pre-recorded or artificial voice, just as they did to the

Plaintiff’s cellular telephone in this case, with no way for the consumer, or Bright House, to

remove the incorrect number.

30.     Bright House has numerous other federal lawsuits pending against them alleging similar

violations as stated in this complaint.

31.     Bright House and its subsidiaries, including CPA, have had numerous complaints from

consumers against them across the country asking to not be called, however the Defendant

continues to call.

32.     Bright House and its subsidiaries including CPA, corporate policy provided no means for

the Plaintiff to have his number removed from the call list.



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33.      Bright House and its subsidiaries, including CPA, have a corporate policy to harass and

abuse individuals despite actual knowledge that the called parties do not owe the alleged debt.

34.      Plaintiff revoked any express consent to Bright House’s and CPA’s placement of telephone

calls to Plaintiff’s cellular telephone by the use of an ATDS or a pre-recorded or artificial voice

prior to Bright House’s and CPA’s placement of the calls.

35.      None of Bright House’s or CPA’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

36.      Bright House and its subsidiaries, including CPA, willfully and/or knowingly violated the

TCPA with respect to the Plaintiff.



                                          COUNT I
                              BRIGHT HOUSE NETWORKS, LLC
                                   (Violation of the TCPA)

37.      Plaintiff incorporates Paragraphs one (1) through thirty-five (36).

38.      Defendant willfully violated the TCPA with respect to the Plaintiff each time they called

the Plaintiff after he revoked his consent to being called by them using an ATDS or pre-recorded

voice.

39.      Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for each

of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff revoked his consent to

being called by them using an ATDS or pre-recorded voice.

40.      Bright House repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).



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         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Bright House Networks, LLC for statutory damages, punitive damages, actual

damages, costs, interest, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

                                         COUNT II
                              BRIGHT HOUSE NETWORKS, LLC
                                  (Violation of the FCCPA)

41.      Plaintiff incorporates one (1) through thirty-five (36).

42.      At all times relevant to this action Bright House is subject to and must abide by the law of

Florida, including Florida Statute § 559.72.

43.      Bright House has violated Florida Statute §559.72(7) by willfully communicating with the

debtor or any member of her or his family with such frequency as can reasonably be expected to

harass the debtor or her or his family.

44.      Bright House has violated Florida Statute §559.72(7) by willfully engaging in conduct

which can reasonably be expected to abuse or harass the debtor or any member of his family.

45.      Bright House’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute §559.77.

                                        COUNT III
                          CREDIT PROTECTION ASSOCIATION, LP
                                  (Violation of the TCPA)

46.      Plaintiff incorporates Paragraphs one (1) through thirty-five (36).

47.      Defendant willfully violated the TCPA with respect to the Plaintiff each time they called

the Plaintiff after he revoked his consent to being called by them using an ATDS or pre-recorded

voice.




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48.    Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for each

of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff revoked his consent to

being called by them using an ATDS or pre-recorded voice.

49.    CPA repeatedly placed non-emergency telephone calls to Plaintiff’s cellular telephone

using an automatic telephone dialing system or prerecorded or artificial voice without Plaintiff’s

prior express consent in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Credit Protection Association, LP for statutory damages, punitive damages,

actual damages, costs, interest, enjoinder from further violations of these parts and any other such

relief the court may deem just and proper.

                                       COUNT IV
                        CREDIT PROTECTION ASSOCIATION, LP
                                (Violation of the FCCPA)

50.    Plaintiff incorporates one (1) through thirty-five (36).

51.    At all times relevant to this action CPA is subject to and must abide by the law of Florida,

including Florida Statute § 559.72.

52.    CPA has violated Florida Statute §559.72(7) by willfully communicating with the debtor

or any member of her or his family with such frequency as can reasonably be expected to harass

the debtor or her or his family.

53.    CPA has violated Florida Statute §559.72(7) by willfully engaging in conduct which can

reasonably be expected to abuse or harass the debtor or any member of his family.

54.    CPA’s actions have directly and proximately resulted in Plaintiff’s prior and continuous

sustaining of damages as described by Florida Statute §559.77.




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       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Credit Protection Association, LP for statutory damages, punitive damages,

actual damages, costs, interest, attorney fees, enjoinder from further violations of these parts and

any other such relief the court may deem just and proper.

                                              Respectfully submitted,

                                              /s/ Stephen J. Stanley________
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